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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


             -v-                                                  5:05-CR-529

JONATHAN BAKER, GEORGE FULLER,
and KELVIN MINOTT,

                         Defendants.
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DAVID N. HURD
United States District Judge

                                          ORDER

         Pursuant to the oral decision of the Court, entered into the record after hearing oral

argument on December 8, 2006, in Utica, New York, it is hereby

         ORDERED that

         Defendants' motions for post-trial relief are DENIED.



         IT IS SO ORDERED.




Dated: December 8, 2006
       Utica, New York.
